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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:20-cv-01066-SKC

FRED NEKOUEE, individually,             :
                                        :
              Plaintiff,                :
                                        :
vs.                                     :
                                        :
NATIONAL RETAIL PROPERTIES, LP, a       :
Delaware limited partnership;           :
                                        :
and                                     :
                                        :
BEST BUY CO., INC., a Minnesota         :
corporation;                            :
                                        :
              Defendants.               :
_______________________________________ /


                                 NOTICE OF SETTLEMENT

       Plaintiff, Fred Nekouee, by and through his undersigned counsel, hereby advises the

Court that the Defendants have reached a settlement in principle with Plaintiff Fred Nekouee.

Said parties expect to finalize the settlement within the next 21 days.

                                                      Respectfully submitted,

                                                      s/Robert J. Vincze
                                                      Robert J. Vincze (CO #28399)
                                                      Law Offices of Robert J. Vincze
                                                      PO Box 792 Andover, Kansas 67002
                                                      Phone: 303-204-8207
                                                      Email: vinczelaw@att.net

                                                      Attorney for Plaintiff Fred Nekouee




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                              CERTIFICATE OF SERVICE

        I certify that on May 29, 2020, I electronically filed the foregoing Notice with the Clerk
of the Court using the CM/ECF system.


                                                     s/Robert J. Vincze
                                                     Robert J. Vincze (CO #28399)




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